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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION


       UNITED STATES OF AMERICA,
            Plaintiff,
                       v.                            Case No. 4:22-cr-00162-ALM-KPJ
       EDWARD WALSH VAUGHAN,
            Defendant.


                                          ORDER

       The Court, upon consideration of Edward Walsh Vaughan’s Motion to Modify

 Conditions of Release, the Court finds the motion should be GRANTED.

       IT IS ORDERED that the requirement of a location monitoring bracelet with regard to

 Defendant Vaughan is withdrawn.
